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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


----------------------------------------------------------X
Leon Black,
                  Plaintiff,                                         21 Civ. 8824 (PAE)

-v-                                                                  CIVIL CASE
                                                                  MANAGEMENT PLAN
                                                                   AND SCHEDULING
Guzel Ganieva, Wigdor LLP, and John Does 1-3 ,                          ORDER
                  Defendants.
----------------------------------------------------------X



       This Civil Case Management Plan (the “Plan”) is submitted by the parties in accordance
with Fed. R. Civ. P. 26(f)(3).

1.      All parties do not consent to conducting all further proceedings before a Magistrate Judge,
        including motions and trial. 28 U.S.C. § 636(c). The parties are free to withhold consent
        without adverse substantive consequences.

2.      This case is to be tried to a jury.

3.      Amended pleadings may not be filed and additional parties may not be joined except with
        leave of the Court. Any motion to amend or to join additional parties shall, absent good
        cause for a later motion, be filed within 30 days from the date of this Order.

4.      Plaintiff believes that initial disclosures, pursuant to Fed. R. Civ. P. 26(a)(1), should be
        completed no later than 14 days from the date of this Order. Defendants believe that initial
        disclosures should be completed no later than 14 days after the Court issues its decisions
        on their anticipated motions to dismiss the Amended Complaint.

5.      Plaintiff believes that all fact discovery should be completed no later than May 13, 2022.
        Defendants believe that all fact discovery should be completed no later than seven (7)
        months after the Court issues its decisions on their anticipated motions to dismiss the
        Amended Complaint.

6.      The parties are to conduct discovery in accordance with the Federal Rules of Civil
        Procedure and the Local Rules of the Southern District of New York. The following
        interim deadlines may be extended by the written consent of all parties without application
        to the Court, provided that all fact discovery is completed by the date set forth in paragraph
        5 above.

        a.       Plaintiff believes that initial requests for production of documents should be served
                 by March 11, 2022 . Defendants believe that initial requests for production of



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             documents should be served within thirty (30) days after the Court issues its
             decisions on their anticipated motions to dismiss the Amended Complaint.

     b.      Plaintiff believes that interrogatories under Local Rule 33.3(a) should be served by
             March 11, 2022. Defendants believe that interrogatories under Local Rule 33.3(a)
             should be served within thirty (30) days after the Court issues its decisions on their
             anticipated motions to dismiss the Amended Complaint.

     c.      Plaintiff believes that interrogatories under Local Rule 33.3(c) should be served by
             April 13, 2022. Defendants believe that interrogatories under Local Rule 33.3(c)
             should be served no earlier than one hundred eighty (180) days after the Court
             issues its decisions on their anticipated motions to dismiss the Amended Complaint.

     d.      Plaintiff believes that depositions should be completed by May 13, 2022.
             Defendants believe that depositions should be completed no later than seven (7)
             months after the Court issues its decisions on their anticipated motions to dismiss
             the Amended Complaint.

     e.      Plaintiffs believe that requests to admit should be served no later than April 13,
             2022. Defendants believe that requests to admit should be served within sixty (60)
             days after the Court issues its decisions on their anticipated motions to dismiss the
             Amended Complaint.

     f.      Plaintiff believes that all expert discovery should be completed no later than June
             27, 2022. Defendants believe that all expert discovery should be completed no later
             than ten (10) months after the Court issues its decisions on their anticipated motions
             to dismiss the Amended Complaint.

     No later than thirty (30) days prior to the date in paragraph 5, i.e., the completion of all fact
     discovery, the parties shall meet and confer on a schedule for expert disclosures, including
     reports, production of underlying documents and depositions, provided that (i) expert
     report(s) of the party with the burden of proof shall be due before those of the opposing
     party’s expert(s); and (ii) all expert discovery shall be completed by the date set forth in
     paragraph 7(a).

8.   All motions and applications shall be governed by the Court’s Individual Rules and
     Practices, including the requirement of a pre-motion conference before a motion for
     summary judgment is filed. Pursuant to the authority of Fed. R. Civ. P. 16(c)(2), any
     motion for summary judgment will be deemed untimely unless a request for a pre-motion
     conference relating thereto is made in writing within fourteen (14) days of the date in
     paragraph 5, i.e., the close of fact discovery.

9.   All counsel must meet face-to-face for at least one hour to discuss settlement within
     fourteen (14) days following the close of fact discovery.

a.   a. Counsel for the parties have discussed an informal exchange of information in aid of
     early settlement of this case and have agreed upon the following:




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             N/A.

      b.     Counsel for the parties have discussed the use of the following alternate dispute
             resolution mechanisms for use in this case: (i) a settlement conference before a
             Magistrate Judge; (ii) participation in the District’s Mediation Program; and/or (iii)
             retention of a privately-retained mediator. Counsel for the parties propose the
             following alternate dispute resolution mechanism for this case:


             Alternative dispute resolution, if any, shall be done before a privately-retained
             mediator.

      c.     Counsel for the parties recommend that the alternate dispute resolution mechanism
             designated in paragraph 10(b), be employed at the following point in the case (e.g.,
             within the next sixty days; after the deposition of plaintiff is completed (specify
             date); after the close of fact discovery):


             after the close of fact discovery.

      d.     The use of any alternative dispute resolution mechanism does not stay or modify
             any date in this Order.

11.   The Final Pretrial Order date is thirty (30) days following the close of fact and expert
      discovery (whichever is later). By the Final Pretrial Order date, the parties shall submit a
      Joint Pretrial Order prepared in accordance with the undersigned’s Individual Rules and
      Practices and Fed. R. Civ. P. 26(a)(3). Any motions in limine shall be filed after the close
      of discovery on or before the Final Pretrial Order date. If this action is to be tried before a
      jury, proposed voir dire, jury instructions and verdict form shall also be filed on or before
      the Final Pretrial Order date. Counsel are required to meet and confer on a joint submission
      of proposed jury instructions and verdict form, noting any points of disagreement in the
      joint submission. Jury instructions may not be submitted after the Final Pretrial Order date,
      unless they meet the standard of Fed. R. Civ. P. 51(a)(2)(A). If this action is to be tried to
      the Court, proposed findings of fact and conclusions of law should be submitted on or
      before the Final Pretrial Order date.

12.   Counsel for the parties have conferred and their present best estimate of the length of trial
      is 7 days.

13.   [Other items, including those in Rule 26(f)(3).]




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TO BE COMPLETED BY THE COURT:

The Plan has been reviewed by the Court and, except as modified, is adopted as the Scheduling
Order of this Court in accordance with Fed. R. Civ. P. 16(b).

14.      [Other]

15.      The next Case Management Conference is scheduled for                   at          .

        This ORDER may not be modified or the dates herein extended, except by further Order
of this Court for good cause shown. Any application to modify or extend the dates herein
(except as noted in paragraph 6) shall be made in a written application in accordance with
paragraph 1.E of the Court’s Individual Rules and Practices and shall be made no less than two
(2) business days prior to the expiration of the date sought to be extended.


                                                             Paul A. Engelmayer
                                                          United States District Judge
Dated:      New York, New York




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